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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


MARCIA SCOTT AND ISRAEL
SCOTT (for themselves and as a
representative of their minor child),
                                              JURY TRIAL DEMANDED
Plaintiff,

vs.                                           CIVIL ACTION
                                              FILE NO.: 1:19-cv-04330-LMM
SAFECO INSURANCE COMPANY OF
INDIANA, A LIBERTY MUTUAL
COMPANY, AND SHILAN PARHAM

Defendant.

PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT SAFECO
  INSURANCE COMPANY OF INDIANA’S MOTION TO EXCLUDE
            TESTIMONY OF DR. STEPHEN NELSON


                                   INTRODUCTION

             Because Plaintiffs’ expert witness, Child Neurologist, Dr. Stephen

      Nelson offers competent testimony that satisfies Federal Rule of Evidence

      702, and case law, Plaintiffs move this Court to deny Defendant Safeco

      Insurance Company of Indiana’s (Safeco’s) Motion to Exclude Testimony of

      Dr. Stephen Nelson.
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                                          FACTS

      This case arises from an automobile accident that occurred on August 31,

2017 when pregnant Mrs. Scott and her developing fetus H.S. were injured by the

at-fault driver, Shilan Parham, who rear ended them. (Dkt. No. 87 ¶4). Plaintiffs

brought this lawsuit to seek recovery on the above referenced matter against their

underinsured motorist insurer, Safeco Insurance Company of Indiana, A Liberty

Mutual Company (Safeco) for negligent failure to settle claims and negligent

hiring, training and supervision concerning the handling of policy-limits demands.

(Dkt. No. 87 ¶7-13). Plaintiffs also seek to recover regarding developmental delays

caused by the accident to their unborn child. (Dkt. No. 87 ¶4).

      On September 11, 2020, Plaintiffs identified Child Neurology Expert, Dr.

Stephen Nelson, to provide his opinion regarding minor H.S.’s neurological injury.

(Dkt. No. 104-3). Dr. Nelson’s report identify his qualifications, the materials

reviewed, a summary of his review and that his opinions are based on a reasonable

degree of medical certainty. (Dkt. No. 104-4).

      Dr. Nelson’s Summary of Review is as follows:

            On 8/31/2017, Marcia Almeida-Scott was ~37 weeks EGA
      when she was involved in a motor vehicle accident (MVA). Her
      KB stain was initially positive but then became negative. Fetal
      doppler ultrasounds were normal prior to the MVA but
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      afterwards demonstrated increased middle cerebral artery (MCA) end-
      diastolic flow velocity (fetal brain sparing effect). She was induced
      due to abnormal dopplers, and [H.S] was born vaginally on 9/6/2017
      without any complications of the delivery. Her Apgars were 8/9 and
      1/5 minutes, respectively.
             [H.S.] was followed by ENT/Dr. Burton for eustachian tube
      dysfunction, recurrent ear infections, mouth breathing, snoring,
      chronic rhinitis, mild intermittent asthma, and speech articulation
      disorder. She underwent PET placement in 2/2019 and adenoid
      removal in 12/2019 with some improvement in symptoms.
             [H. S.’s] well-child check on 3/15/2019 by PA Crenson
      demonstrated abnormal scores for Ages and Stages for 18 months
      (communication 30, gross motor 55, fine motor 20, problem-solving
      20, personal-social 30) consistent with global developmental delay. In
      fact, at that time, [H.S.] only had a single word. She was referred for
      therapy at Babies Can't Wait.

      At his deposition (Dkt. No. 104-5, deposition transcript of Dr. Nelson) taken

by defendant Safeco’s counsel on November 3, 2020, Dr. Nelson provided

testimony that was based on a reasonable degree of medical certainty:

              Q. Well, as we sit here today, you're here to give your expert
      opinion. Is it your expert opinion that the delay in speech was caused
      by the car accident?
              A. I mean, I think my opinion is that she has developmental
      delays. Developmental delays can be due to multiple different reasons
      but she did have pre-natal dopplers that showed increased profusion
      that's associated with chronic hypoxia or an increased risk for
      neurological disability. As to the cause of that increased profusion,
      since I'm not an OB, I would defer to an OB. I would just say that --
      that it -- but if that -- if that -- if the accident resulted in a chronic
      hypoxic state, then -- and that's what's being evidenced by the hyper
      profusion on doppler, then that would suggest or at least say that the
      most likely cause of her development disability was the accident.
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      But, again, I'm trying to stay in my lane. I'm not an OB and so I will
      not offer opinions that are sort of in the obstetrics realm.
(Nelson Dep. 23:3-21).

      Dr. Nelson provided his medical opinion as a child neurologist that

“[H.S. had] pre-natal dopplers that showed increased profusion that's

associated with chronic hypoxia or an increased risk for neurological

disability… if the accident resulted in a chronic hypoxic state, then -- and

that's what's being evidenced by the hyper profusion on doppler, then that

would suggest or at least say that the most likely cause of her development

disability was the accident.” Dr. Nelson then deferred to an obstetrician for

other causes of increased profusion. (Nelson Dep. 23:8-21). Defendant

Safeco did not and does not have any evidence that there are other causes for

the increased profusion and was unable to present any records on this issue

for Dr. Nelson to review during his deposition.


      Defendant Safeco’s Motion to Exclude Testimony states that “Dr.

Nelson then testified that, to the extent the Accident caused H.S. to

experience a “chronic hypoxic state” while in utero, that typically causes a

different condition than the one claimed by Plaintiffs. The condition is called

“mild hypoxic ischemic encephalopathy,””. (Dkt. No. 104-1, ¶ 3).
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      However, this is a clear misstatement of Dr. Nelson’s testimony and it

is not in the deposition transcript.


             Instead, the correct testimony is as follows:

               Q. Well, and wouldn't it be fair that anything that was from the
      chronic hypoxic state would have manifested earlier than 18 months?
             A. I think that -- that mild hypoxia -- so we see it all the time in
      kids, for example, the mild hypoxic ischemic encephalopathy. They
      may not demonstrate developmental delays until they're older and it's
      because you have to get separation from your peers. So if you have a
      mild brain injury that results in mild developmental disabilities, it's
      more subtle and it's not uncommon for it not to be picked up until the
      child is older. (Nelson Dep. 23:22-25; 24:1-8).


      Further testimony by Dr. Nelson show a clearer picture of the

developmental delays of the minor H.S.:


             Q. Could a low communication score be temporary?
             A. It could. Like I said, there's a differential diagnosis for
      delays in speech.I mean I think again looking at this child's ASQ's -- if
      I look -- so this is 18 months so if I go to a 18-month ASQ and I look
      at the scores. Again, 30 is kind of borderline low for communication,
      55 for gross motor is normal, 20 for fine motor is actually delayed.
      That's now in the black. Problem solving at 20 is delayed. That's down
      in the black. Personal/social of 30 is in the gray area. So at this time,
      the child would meet criteria for what we 20 call global
      developmental delay because there's delays in fine motor, problem
      solving, and personal/social as well as communication. So that's what
      I would take from this note.
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(Nelson Dep. 24:9-23).


             Q. Dr. Nelson, is defendant's exhibit 52 the 30-month wellness
      check-up?
             A. Yes.
             Q. And at the 30-month wellness check-up on March 18 of this
      -- of 2020, which is this year, was 19 everything normal?
             A. Yeah, the -- I mean, the only documented abnormality,
      again, it was borderline but the personal/social score of 35 and the
      fine motor score of 30 would be in the gray area. Let's see because
      communication 50 normal, gross motor 60 normal, fine motor --
      actually fine motor 30 would be-- yeah, in the gray so the fine motor
      and personal/social were sort of the borderline impaired.
(Nelson Dep. 28:14-25; 29:1-2).

             Q. As we sit here today, now that you have had the opportunity
      to review defendant's exhibit 50 and defendant's exhibit, do you hold
      the opinion that any speech delay that [H.S.] had or may have had at
      the 18-month check-up was related to the car accident?
             A. I mean, I think I would come back to what I said in opinion
      four. I think that additional time and information is needed. I -- you
      know, I think that the child should get neuropsychological testing
      when she's a little bit older to clarify the extent and nature of her
      disabilities. So again, I would say that, you know, it's unclear to me at
      this time. I think that she's had a history of global developmental
      delay including speech delays that has improved status post her ENT
      surgeries as well as with time, but it remains to be seen what her
      developmental trajectory will be given that she's still young and she
      hasn't had any development or neuropsychological testing.
             Q. Well, can you state to a reasonable degree of medical
      certainty that any of the developmental delays that [H.S.] either
      experienced or continues to experience is related to the August 13,
      2017, car accident?
              A. I mean I would say that I would probably put it more in the

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      possible realm. I think that without that additional information, I
      would have a more difficult time saying that they're directly causal
      especially given that her speech has improved status post the ENT
      surgeries.
       (Nelson Dep. 29:22-25; 30:1-25).


            Q. And without the additional testing, it's hard
            A. No, I would agree.
            MS. GOZA: Objection leading.
            A. I mean I would agree that it's difficult to have conclusive
               opinions in the absence of information. I mean, you know, I
               can base opinions on the information that I have. The more
               information I have, the stronger the opinions that I can give.
               Again, I think that as she gets older and becomes old enough
               to do neuropsychological testing, I think that would be the
               sort of gold standard for trying to determine what the extent
               of her developmental disability is.
     (Nelson Dep. 34:25; 35:1-13).

      Dr. Nelson’s testimony indicates that neuropsychological testing as

minor H.S. gets older will be helpful to determine the extent of her

developmental disability and that his opinions are based on the information

that he has been presented with. Dr. Nelson opined that … if the accident

resulted in a chronic hypoxic state, then -- and that's what's being

evidenced by the hyper profusion on doppler, then that would suggest or at

least say that the most likely cause of her development disability was the

accident. (Nelson Dep. 23:14-18). Dr. Nelson testified that “this abnormal

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blood flow is an indication of chronic fetal hypoxia which can result in

IUGR or can also be an indication of fetal stress. And so, you know, what

the medical records state is that the OB decided to induce the mother

because of the persistent increased in diastolic flow in the MCA.” (Nelson

Dep. 36:2325; 37:1-4) … the records indicate that this was noted after the

car accident and that the decision was made to induce the mother…

(Nelson Dep. 37:10-12) Well, my understanding is she was induced

because of the abnormal increased MCA and diastolic blood flow.”

(Nelson Dep. 38:1-3).

      Dr. Nelson testified that “the fetal brain sparring effect was only

seen after the car accident (Nelson Dep. 44:2-3) …and that dopplers that

were done by OB demonstrated fetal brain sparing effect.” (Nelson Dep.

45:4-5). Dr. Nelson stated that “she (H.S.) appears to still have at least some

borderline delays and I -- I think that as she ages those will become more

obvious. (Nelson Dep. 36:7-10). Dr. Nelson gave his expert opinion to a

reasonable degree of medical certainty as a child neurologist and deferred to

an obstetrician for that respective opinion. Because Dr. Nelson provided



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expert testimony as a child neurologist that is to a reasonable degree of

medical certainty his testimony should not be excluded.

               ARGUMENT AND CITATION OF AUTHORITY

   A. Dr. Nelson Testified to a Reasonable Degree of Medical Certainty that
      the Accident with Parham Caused H.S.’s Injuries

   Dr. Nelson’s testimony meets the requirements of admissibility to satisfy case

law and Federal Rule of Evidence 702 that states:

      A witness who is qualified as an expert by knowledge, skill,
      experience, training, or education may testify in the form of an
      opinion or otherwise if:
      (a) the expert’s scientific, technical, or other specialized knowledge
      will help the trier of fact to understand the evidence or to determine a
      fact in issue;
      (b) the testimony is based on sufficient facts or data;
      (c) the testimony is the product of reliable principles and methods;
      and
      (d) the expert has reliably applied the principles and methods to the
      facts of the case.


   1. Dr. Nelson’s First Opinion Should be Admitted

Dr. Nelson testified to a reasonable degree of medical certainty when he provided

his medical opinion as a child neurologist:

             Q. All right, I want to go through each opinion that you
      expressed. So the first opinion is opinion number one abnormal
      increase MCA in diastolic blood flow in the fetus [H.S.] was noted
      after mother was involved in an MVA. Due to persistence of this
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      abnormality, delivery was induced. This abnormal blood flow is
      associated with intrauterine growth restriction and fetal stress. Is that
      your first opinion?
             A. Yes. So in other words, this abnormal blood flow is an
      indication of chronic fetal hypoxia which can result in IUGR or can
      also be an indication of fetal stress. And so, you know, what the
      medical records state is that the OB decided to induce the mother
      because of the persistent increased in diastolic flow in the MCA.
             Q. And do you -- would you say that the OB did that and
      induced the labor because of the car accident?
             A. I don't know what the -- since I'm not an OB and I don't
      know what the -- why the OB did it or what the thought process was
      of the OB, I can't say that definitively. All I can say is that the records
      indicate that this was noted after the car accident and that the
      decision was made to induce the mother. But I would defer to an OB
      on further information on, you know, the causes of increased MCA
      and diastolic flow. It's just increased –
(Nelson Dep. 36:15-25; 37:1-15).

      Dr. Nelson provided his medical opinion as a child neurologist and

deferred to an obstetrician for the “thought process” of an obstetrician.

Further, "His expert testimony, in conjunction with other non-expert

evidence, authorized a finding of the requisite causal connection between the

collision and the injuries sustained by appellee…It was not error to refuse to

strike the physician's testimony in its entirety." Georgia Cas. & Sur. Co. v.

Jernigan, 305 S.E.2d 611, 166 Ga.App. 872 (Ga. App. 1983). In this case,

Dr. Nelson’s expert testimony in conjunction with the medical records

evidence that he reviewed and refer to authorizes a finding of the requisite
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causal connection between the collision and the injuries sustained by minor

H.S.

Dr. Nelson testified further:

             Q. So as we sit here today, can you say with a reasonable
      degree of medical certainty why [H.S.] was or why the mother was
      induced?
             A. Well, my understanding is she was induced because of the
      abnormal increased MCA and diastolic blood flow. But given that I
      haven't seen the deposition testimony, if it exists, of the OB who
      induced her, I would defer to that person on the indications for
      induction.
             Q. Okay. And is it fair to say that because you are not an
      obstetrician, you cannot offer medical opinions as we sit here today in
      that medical modality?
             A. Correct. I'm not an OB so I won't offer OB opinions.
(Nelson Dep. 37:23-25; 38:1-11).

       Again, Dr. Dr. Nelson provided his medical opinion as a child

neurologist and deferred to an obstetrician for the “thought process” of an

obstetrician. Dr. Nelson testified with a reasonable degree of medical

certainty that “my understanding is she was induced because of the

abnormal increased MCA and diastolic blood flow.” (Nelson Dep. 38:1-3).

Dr. Nelson continued his testimony:
             A. I guess what I would state is that being involved in a car
      accident can cause problems with placenta insufficiency or placental
      flow and that can result in chronic hypoxia and result in -- in this
      process. But I think as to whether it -- the link between them, you
      know, I would defer to an OB given that I have not reviewed all of
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      Mom's prenatal records nor do I manage patients that have this
      condition, and so, you know, on the specifics of that, I would -- I
      would defer to an obstetrician.
              Q. All right. So I just want to be clear that opinion number one,
      you cannot say with a reasonable degree of medical certainty that this
      opinion that you hold was caused by the motor vehicle accident and
      that is partially because you're not an obstetrician. Is that fair?
              A. Yes. I mean, again, I would defer to an obstetrician on
      things that are within the OB realm
(Nelson Dep. 38:16-25; 39:1-8).


      Again, Dr. Dr. Nelson provided his medical opinion as a child

neurologist and deferred to an obstetrician for the “thought process” of

an obstetrician.

      Because Dr. Nelson testified to a reasonable degree of medical certainty

when he provided his medical opinion as a child neurologist his testimony is

admissible.




   2. Dr. Nelson’s Second Opinion Should be Admitted

   Testimony of Dr. Nelson:

            Q. All right. Now, let's go to your second opinion and the
      second opinion says [H.S.] had evidence of global development
      delays in the medical records for which she was referred to therapy.
      Although, she underwent ENT surgeries including ear tubes and
      adenoidectomy per the last available records of 12/2019, she
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      continued to have speech delay. Is that your second opinion in this
      case?
             A. Yes.
             Q. And is it still your opinion as we sit here today, what she
      continues to have speech delay?
             A. It would appear based on the most recent medical records
      that her speech delay has resolved or at least improved.
(Nelson Dep. 39:9-22).

             Q. As we sit here today, the delayed speech that we discussed
      came at the 18-month visit, is that correct?
             A. Yeah, I believe it was around the 15-to-18-month visit, yes.
             Q. And can you say with a reasonable degree of medical
      certainty that the speech delay at the 15-to-18-month visit was caused
      by the car accident?
             A. I can say that the speech delay may have been related either
      to the eustachian tube dysfunction or ear infections that she had or the
      car accident or some other unknown cause, but I can't say definitively
      which one was the exact cause. And I think in part that is I would
      need to see what her developmental trajectory is over time, over the
      next months to, you know, one to two years and then see what the
      results of neuropsychological testing are.
             Q. So is it fair to say that your professional opinion number two
      because you have now been provided subsequent records, which
      would include through March of 2020, that that opinion has now
      changed as we sit here today?
             A. Yeah, I mean I would say that it's changed in her -- in the
      sense that her speech appears to have normalized. Honestly, given that
      I have not personally examined her nor seen any speech therapy
      records, that limits a little bit my ability to interpret her level of
      speech. That's why I think that, you know neuro -- neuro
      psychological testing would be helpful to clarify what her language
      developmental status is as of -- as of today.
             Q. And without testing, you can't say to a reasonable degree of
      medical certainty, what the cause for the speech delay is, can you?

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            A. I mean I would have difficulty saying what the cause is
     because I'm not sure what the extent of the delay is so I think part of
     trying to -- to definitively or -- or to get to a reasonable degree of
     medical probability causation, part of -- part of it is I need to know
     what the extent of her delays are in all areas.
(Nelson Dep. 40:4-25; 41:1-18).

      Dr. Nelson’s testimony indicates that neuro psychological testing of

H.S. would be helpful to clarify what her language developmental status is

as of -- as of today (Nelson Dep. 41:6-9) and that neuropsychological

testing as minor H.S. gets older will be helpful to determine the extent of her

developmental disability (Nelson Dep. 40:16-20) and that his opinions are

based on the information that he has been presented with. Dr. Nelson’s

testimony indicates that “if the accident resulted in a chronic hypoxic

state, then -- and that's what's being evidenced by the hyper profusion on

doppler, then that would suggest or at least say that the most likely cause

of her development disability was the accident.” (Nelson Dep. 23:13-18).

This testimony is admissible because it is to a reasonable degree of medical

certainty and requests further investigation as the child becomes older.

      "'The testimony must show at least a probable cause, as distinguished
      from a mere possible cause'). In the alternative, expert testimony
      stated only in terms of a 'possible' cause may be sufficient if it is
      supplemented by probative non-expert testimony on causation.

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      Rodrigues, 661 S.E.2d at 143." Wilson v. Taser International, Inc.,
      No. 08-13810 (11th Cir. 12/16/2008) (11th Cir. 2008).

   In this case, Dr. Nelson’s testimony is made to a reasonable degree of

medical certainty and is supplemented by relevant medical records that are

probative non-expert testimony on causation.



   3. Dr. Nelson’s Third Opinion Should be Admitted

Dr. Nelson’s Testimony:

              Q. All right. And then let me go to number three, opinion
      number three, which is the abnormal fetal dopplers seen after the
      MVA are associated with quote, fetal brain sparring effect, end quote.
      Although this implies a response where the fetus tries to protect the
      brain in the setting of ongoing stress, there is actually a higher
      incidence of neuro developmental disabilities in these children when
      tested later in life. Is that your third opinion?
              A. Yes.
              Q. All right. For the fetal brain sparring effect, are you
      referencing that because of a reference in the OB notes?
              A.I don't recall -- I don't remember if they used that term but
      that's -- that's the term that is used to describe the -- the hyper
      profusion or the flow seen on cranial dopplers and the idea is that you
      -- in the setting of chronic hypoxia or placental insufficiency that the
      fetus tries to increase blood flow to the brain so that -- because the
      brain is preferentially profused over the rest of the body.
              Q. All right, so what is brain sparring effect?
              A. So fetal brain
              Q. Is it what you just described to me?
              A. Yeah, so fetal brain sparing effect means that you're sparing
      injury to the brain by trying to hyper profuse the brain. So the best
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      way to think about it is if normally you have a certain amount of
      oxygen in the blood and now you have less oxygen in the blood so
      that the brain can't get enough oxygen to function properly, then the
      body will compensate by trying to increase the amount of blood flow
      to the brain such that the same amount of oxygen gets to the brain
      because it just puts more blood with less oxygen to the brain. But --
      but it's not -- it doesn't necessarily prevent the injury, it just sort of
      reduces the injury. What is seen is if you look at children who have
      this finding on prenatal ultrasound and then you follow them out over
      time, you see that there's a higher incidence of neuro developmental
      disabilities.
              Q.What are the neuro developmental disabilities you're talking
      about?
              A.Well, I mean it can be things like ADHD, learning
      disabilities, developmental delay. Again, it just implies that -- that
      fetuses who are exposed to this effect may have a higher incidence of
      disabilities in the future.I mean I would say –
              Q. And as we sit here –
              A. Go ahead.
              Q. Nope, go ahead.
              A. I was just going to say that, you know, the extent of that
      disability, I think, varies between different patients but it's a variety of
      different disabilities.
              Q. And as we sit here today, if there was fetal brain sparring
      effect, you can't say with a reasonable degree of medical certainty that
      it was caused by the car accident, can you?
              A. I mean what I can say is that it was only seen after the car
      accident and so one of the potential causes is the car accident but if
      there were other causes in Mom's prenatal history that could also be a
      cause of it, I didn't review all of her records and since I'm not an OB, I
      would defer to an OB on other potential causes.
(Nelson Dep. 41:19-25; 42:1-25; 43:1-25; 44:1-8).

            Q. So as we sit here today, you can't say with a reasonable
      degree of medical certainty that Baby [H.S.] suffered from fetal
      sparing, fetal brain sparing effect, can you?
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       MS. GOZA: Objection leading.
       A. No, I can say that dopplers that were done by OB
demonstrated fetal brain sparing effect. But beyond that, I'm limited
by what's in the medical records and sort of what my knowledge set is
but given that I'm not an OB, I would defer to an OB on what the
extent of the abnormality was on the ultrasounds as well as what the
proper management of that is.
       Q. As we sit here today, you can't with a reasonable degree of
medical certainty that Baby [H.S.], will suffer from neuro
developmental disabilities later in life, can you?
       A. No, I mean I can say she has an increased risk for it and
that's what I think neuro psychological testing in the future would be
helpful. So, you know, I think right now she's what, around three or
so, maybe in the next year that might be useful.
       Q. So as of right now, any opinions about the neuro
development disability and what may result into the future, is only
speculation, correct?
       A. Well, I would say that additional testing will help to clarify
the nature and extent of her disabilities, if any. Again, right now, we're
limited to the information that's available in the medical records since
I have not personally examined her nor talked with the family nor
seen any of the testing evaluations that are described in opinion
number four. If I have that additional information, then I would
evolve my opinions based on that new information.
        Q. And so, again, I just want to clarify, your opinions are made
without conducting any tests, correct?
       A. Yes. I mean as far as I'm aware, there hasn't been any testing
done but -- so my opinions are based on what information is available
to date.
       Q. And your opinions were based on the medical records that
the plaintiff's counsel provided to you, correct?
       A. Yes, and like I said my opinions continued to evolve so with
the new information that you provided me today, you know, some of
my opinions did evolve a little bit. My opinions are never fixed. I
adjust them every time I get new information to whatever the new
information says.
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(Nelson Dep. 44:23-25; 45:1-25; 46:1-20).

      Dr. Nelson’s expert testimony as a child neurologist was that

“dopplers that were done by OB demonstrated fetal brain sparing effect

and that it was only seen after the car accident. (Nelson Dep. 45:4-5; 44:2-

3). Dr. Nelson deferred to an obstetrician for an obstetric opinion and stated

that “neuro psychological testing in the future would be helpful.” (Nelson

Dep. 45:4-17).

      “Georgia case law requires only that an expert state an opinion

regarding proximate causation in terms stronger than that of medical

possibility, i.e., reasonable medical probability or reasonable medical

certainty.” Id. at 503, 578 S.E.2d 862. “Questions regarding causation are

peculiarly questions for the jury except in clear, plain, palpable and

undisputed cases.”Knight v. Knight, 316 Ga.App. 599, 730 S.E.2d 78, 12

FCDR 2227 (Ga. App. 2012).

   Dr. Nelson’s testimony, supported by medical records, is to a reasonable

degree of medical certainty and is admissible.



   4. Dr. Nelson’s Fourth Opinion Should be Admitted

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Dr. Nelson’s Testimony:

            Q. All right. And to that end, I want to go through your fourth
      opinion, which says neuro psychological testing, hearing evaluation,
      speech therapy evaluation, independent medical examination, neuro
      imaging, review of more recent medical records and deposition
      testimony, et cetera, would be helpful for refining and clarifying these
      opinions, correct?
            A. Yes.
(Nelson Dep. 46:21-25; 47:1-3).

      Dr. Nelson’s testimony that further testing as the child continues to

grow and develop would be helpful to clarify his opinions is relevant and

admissible. As Dr. Nelson testified “What is seen is if you look at children

who have this finding on prenatal ultrasound and then you follow them out

over time, you see that there's a higher incidence of neuro developmental

disabilities.” (Nelson Dep. 43:4-8).



                                 CONCLUSION

      Dr. Nelson’s testimony is admissible under a Federal Rule of

Evidence 702 and case law because it will help the trier of fact to understand

the injuries from the car accident that minor H.S. suffered as a fetus, and

how they are affecting her development; is based on sufficient facts and


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data; is the product of reliable principles and methods; and has reliably

applied the principles and methods to the facts of the case.

Because Dr. Nelson’s testimony is to a reasonable degree of medical certainty,

Plaintiffs request that this Court deny defendant Safeco’s Motion to Exclude

Testimony of Dr. Stephen Nelson.



      Respectfully submitted, This      31st     day of December 2020.



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                     CERTIFICATE OF COMPLIANCE

      The undersigned hereby certifies that the foregoing pleading complies with

the font and point selections approved by the Court in Local Rule 5.1C. This brief

has been prepared in Times New Roman font, 14 point.




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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 MARCIA SCOTT AND ISRAEL
 SCOTT (for themselves and as a
 representative of their minor child),
                                                JURY TRIAL DEMANDED
 Plaintiff,

 vs.                                            CIVIL ACTION
                                                FILE NO.: 1:19-cv-04330-LMM
 SAFECO INSURANCE COMPANY OF
 INDIANA, A LIBERTY MUTUAL
 COMPANY, AND SHILAN PARHAM

 Defendant.


                          CERTIFICATE OF SERVICE

       This is to certify that on this 31st day of December 2020 I electronically filed
the foregoing PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT
SAFECO INSURANCE COMPANY OF INDIANA’S MOTION TO EXCLUDE
TESTIMONY OF DR. STEPHEN NELSON
       with the Clerk of Court using CM/ECF system, which will automatically send
e-mail notification of such filing to the following:

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     Case 1:19-cv-04330-LMM Document 106 Filed 12/31/20 Page 23 of 23




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